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4    Attorney for Defendant
     JOHN ORTIZ
5

6
                          UNITED STATES DISTRICT COURT
7
                        EASTERN DISTRICT OF CALIFORNIA
8

9
     United States of America,          No. 2:15-cr-209 GEB
10
                  Plaintiff,            STIPULATION AND[PROPOSED] ORDER
11                                      VACATING TCH AND TRIAL DATE AND
         v.                             SETTING STATUS CONFERENCE
12
     Joseph Latu, et. al.               Date: June 2, 2017
13
                  Defendants.           Time: 9:00 a.m.
14                                      Judge: Burrell

15

16
         Defendant John W. Ortiz seeks to vacate the trial
17

18   confirmation hearing and trial date currently now set for June 2,

19   2017, and June 20, 2017, respectively, and set the matter for

20   status conference on June 16, 2017. Mr. Ortiz has been sentenced
21   to prison by Judge Mueller in a companion case 15-cr-00124 KJM.
22
     His plea agreement in that case called for Judge Mueller to
23
     consider the conduct in this case, which she did, and calls for
24
     the dismissal of this action.
25

26         IT IS THEREFORE STIPULATED between the United States of

27   America through its undersigned counsel, Justin Lee, Assistant

28   United States Attorney, attorney for plaintiff and Jeffrey
                                         1
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1    Staniels, attorney for defendant John W. Ortiz, that the trial
2    confirmation date of June 2, 2017, and the trial date of June 20,
3
     2017, be vacated and the matter re-set for status conference on
4
     June 16, 2017.
5
              The court is advised that counsel have conferred and it is
6
     the intention of the government to submit a proposed order
7

8    dismissing this case before June 16, 2017, and after the time for

9    appeal has expired, which is due to occur on June 13, 2017.

10   Pursuant to terms of the plea agreement in the referenced
11   companion case the defense has no intention to file an appeal in
12
     that case.
13
              There is no need for an exclusion of time as time has been
14
     excluded to the previously set June 20, 2017, trial date.
15
              IT IS SO STIPULATED.
16

17
                                 Respectfully submitted,
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19

20   Dated:    June 1, 2017            /s/ Justin Lee        .
                                       AUSA Justin Lee
21                                     Counsel for Plaintiff
22
     Dated:    June 1, 2017            /s/Jeffrey L. Staniels
23
                                       Attorney for John W. Ortiz
24

25   / / / /
     / / / /
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1                                    O R D E R
2
         The stipulation of the parties is hereby APPROVED.            The
3

4    currently set dates for trial confirmation on June 2, 2017, and

5    for trial on June 20, 2017 are hereby VACATED.         This matter is

6    re-set for status hearing on June 16, 2017.
7        IT IS SO ORDERED.
8
                           Dated:    June 2, 2017
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